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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF FLORIDA

                        CASE NO. 07-60027-CR-ZLOCH/Snow




  UNITED STATES OF AMERICA,

              Plaintiff,

  v.

  FRANK HERNANDEZ, et al.
            Defendants.
  ______________________________


                                   O R D E R


              THIS CAUSE is before the Court on defendant Edgar Cruz’

  Motions to Adopt (DE 531, 536, 538, 539, 540, 541 and 545).            Being

  fully advised, it is hereby

              ORDERED    AND   ADJUDGED   that   the   motions   are   GRANTED.

  Defendant Edgar Cruz is permitted to adopt the following motions:

              1. Defendant Paul Wiseberg’s Motion to Sever (DE 517);
              2. Defendant Hannibal Edwards’ Second Motion to Dismiss

  Indictment (DE 524);

              3. Defendant Paul Wiseberg’s Motion to Suppress Evidence

  and Request for a Franks Hearing (DE 518);

              4.   Defendant Frank Hernandez’ Motion to Suppress (DE

  533);

              5.   Defendant Howard Helfant’s Motion to Sever (DE 526);
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              6. Defendant Howard Helfant’s Motion for Disclosure of

  Grand Jury Minutes (DE 528), and

              7. Defendant Emmanuel Antonio’s Motion to Sever (DE 532),

  and, except as to any matter where standing is an essential element

  of participation.     Any appeal from or objection to any magistrate

  judge ruling must be taken individually, specifically and timely.

              DONE AND ORDERED at Fort Lauderdale, Florida, this 27th

  day of August, 2007.




  Copies to:

  AUSA Ellen Cohen (WPB)
  Richard Hersch, Esq. (D-Frank Hernandez & Amada Hernandez)
  Chris Grillo, Esq. (D-Marhee)
  Greg Ross, Esq. (D-Marhee)
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  Joe Rosenbaum, Esq. (D-Pinkoff)
  Jon May, Esq. (D-E.V.A. Global & Tropical)
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  David Vinikoor, Esq. (D-Wiseberg)
  Jeffrey Voluck, Esq. (D-Helfant)
  Sean Ellsworth, Esq. (D-Francois)
  Alberto Acuna, Esq. (D-Concept RX)
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  Richard Della Fera, Esq. (D-Echols)
  Dan Forman, Esq. (D-Edwards and Local Counsel for Hardiman)
  Mark Hardiman, Esq. (D-Edwards)
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